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                 us V. Kimberlee (Stormy) Pitawanakwat
                           Interview 8/6/2020

Stormy Pitawanakwat
Derek Puckett



Puckett;   The date is'8/6/2020.          Time is now 00:32 hours.

           Interview with Stormy, last name unknown.           Alright,

           Stormy can I get to jump in real quick?           On this side.

?:         Appreciate it Stormy.

Puckett:   Alright, next question.

?:         I am going to just be walking.

Puckett:   Alright.    Good evening.        Good morning.

Stormy:    Good evening.     Morning.

Puckett:   So, I am a criminal investigator.         My name is Derek

           Puckett and I am with the Oglala Sioux Tribe

           Department of Public Safety.         Alright?    Had an

           incident happen tonight.

Stormy:    I didn't hear that.

Puckett:   And, so, that's, that's, that's, that's what brought

           me here.

Stormy:    Ok.

Puckett:   I will explain to you what happened as the story goes

           on.



Stormy:    Ok.

Puckett:   So, what Could you tell me about what happened

           earlier?    What, who came here.

Stormy:    The only person who

Puckett    What...hold it...first.   First name?
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Stormy:     Mine?       My name is, I go by Stormy is my middle name,

            but my name is Kimberlee Pitawanakwat.         K I M B E R L

           EE.      .


Puckett:    K I?

Stormy:     M B ER L E E.        Kimberlee, like Wamblee.

Puckett:    Ok.    Stormy?

Stormy:     Yeah.       Kimberlee Stormy Pitawanakwat.   P'l TAWANA

           ■ K W A T.


Puckett:    N?      ,

Stormy:    PIT.AWANAKWAT.                  Pitawanakwat.

Puckett:    Date of birth?

Stormy:

Puckett:    Social?'

Stormy:

Puckett:   Address?"

Stormy:     Right here.

Puckett:    What's this address out here?

Stormy:     It's                  • I have been staying here since .?"

            was                                                     '" .

Puckett:    Is that Kyle? ,        ,

Stormy:     Yeah.       Kyle, South Dakota.   57552.   Or 57752.

Puckett: ' Phone number?

Stormy:    - 605-515-2844.

Puckett:    Tribal member anywhere? •
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Stormy:    Not federally recognized.

Puckett:   No?     Where's it, what Tribe though?

Stormy:    I am from the Siletz Tribe, but

Puckett:   How do you spell that?"

Stormy:    It's SILETZ,          We're a confederated tribes that

           come out of the Shoshone People.

Puckett:   Out of Oregon?

Stormy:    Yeah.     It's out of Oregon.

Puckett:   Alrighty, so what happened with, when them two people

           came' here?   -Or, who were they?

Stormy:    The two people that came here was my grandson's

           grandmother and

Puckett:   Do you know her name?

Stormy:    Her name is Carmen.      And her son, KT.

Puckett:   What is Carmen's last name?

Stormy:    Burgee.    BURGEE.

Puckett:   Is it just KT?

Stormy:    I think so.     ? sure about his name.

Puckett:   Is his last name Burgee too?

Stormy:    Yeah.

Puckett:   And, this is your, grandson?

Stormy:    Yeah, my grandson.     My daughter, Waskoness.       I've

           always had problems with KT coming, trying to seek my

           daughter out.     He was, he was told not- to come here.
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           but, or whatever, to at least give us a heads-up.

           Carmen was ok to come here, you know.          And, he, but

           they came up,- they just showed up tonight.            He just

           walked up to the door.       I walked him back out.       I

           said, don't come here, please.        And, I mean that is

           the only thing, I don't want my daughter to go.            I

           just, you know, I'm not just anybody.          I am a trained

           professional like you, but I'm just like, I've been a.

           firefighter' since 2005 and a "urban, or I was a

           Wildman, and then a few years back, 2012, I went to

           fire academy and became a paramedic, basically EMT,

           and a structural firefighter.        It was like a couple

           different things, I was a part of a rescue tech.              So

           like, when you learn things and how to, how they

           access stuff, you discovered that you never, that just

           never leaves your mind, but I just don't agree with

           the way that he's acting.       And my daughter doesn't

           need to, I just think that' he, I just told him to
           leave.    I don't want my daughter to go, so.          I, and

           that's the last that I heard.        They left, they went

           down the driveway and I went in the house.

Puckett:   What is your daughter's name?
                                                              I

Stormy:    Waskoness.    WASKONESS.              Same last name.

Puckett:   ESS?
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Stormy:    Yeah.    We -are all like going through

Puckett    What is her date of birth?

Stormy:    It's mi of 2000.- I don't know her social off the
           top of my head.

Puckett    And she is here?

Stormy:    Yeah," she is here.     She was actually in the house.

           She didn't come outside.       She, he came to the door and

           she, he left.     And then she .came outside as they were

           leaving and he was cussing at me because she wasn't

           leaving.    That's the only

Puckett    So, she is 20?

Stormy:    Yeah, she- is 20.     So that was the only, like, dispute.

           You know, I didn't Shoot at anybody.         He,didn't shoot

           at me.     So I don't, I don't know, like, what is going,

           on.     That's the last that I heard.      I went inside.

           Everything as it was, as it is sitting.right here.

           This is exactly what I left it.        And so-I don't know,

           nobody came, they were the only car that- was here.

           They're telling me that there was a black truck, or, I

           don't, I just don't know what they are talking about.

           I don't even"know if they got the■right address or

           what's going on.

Puckett    Yeah.     Who do you live here with?
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Stormy:    I live here with my boyfriend, George.          George Dull
           Knife. "And I don't know how many times that they come
           here accusing him of rifles and things like that and
           accusing him of things, so.        He got pulled over the

           other day and they were questioning him about where is

           the.guns?    We know you have the guns.       It's just
           really ridiculous.      I really don't know anything.
Puckett:   What kind of vehicle does George have?

Stormy:    George doesn't have a vehicle.

Puckett:   He don't have a vehicle?

Stormy:    (negative).     He usually

Puckett:   What does he drive, usually drive around?

Stormy:    This is my,, this black truc.k and my white truck is the

           only one that he has drove around before.          And he

           just, I doii't, he will never go anywhere with my
           vehicles unless I'm with him.

Puckett:   So does he have friends*that he can.drive their

           vehicles, or?

Stormy:    Nobody has'any cars around here.        Nobody eveh'has a

           black vehicle, truck, around here.

Puckett: .So what did he get stopped in the other day?

Stormy:    The other day he was in a black car.         It was a black

           car that, I don't even know who the people were.            I

           have no idea who they were.       I just know, that, urn.
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            George has been having problems drinking, but he don't
            drink here because it's just not what,'I don't drink
            and I don't do drugs.     I have a new little baby. .1
            have - children and I am just very adamant about that.

            I don't want it a part of my life.         George is going
            through grief right now and so, he's been drinking,
           'but he never is here when.he is drinking.         He's not

            here tonight.    He got, he got pulled over the other
            day.   That's that last that- I know.of.       I seen him
Puckett:    Has he been staying here?

Stormy:     Yeah, he stays here, but he's
Puckett:    When was the last time he stayed here?

Stormy:     Last time he stayed here was, well we went to Rapid
            City and then we came back and "then he,didn't even
            stay the night with me.     So, he has been staying out
            at his mom's.

Puckett:    Where is -his mom's at?

Stormy:     It's in Wamblee.    She lives inWamblee.        She's the
            district rep person like that.       So.    He's been going
            through things and we're kinda breaking up and, or, I
            don't know, we're just not, I just-don't agree with,
            you know, like his drinking, so.

Puckett:    You don't know his mom's name?
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Stormy:    His name, her name is Cora, Yellow Elk.         But that's the

           first thing they asked about is George.          George's name
           got thrown out here.      George ain't even here.

Puckett:   Alright.    Does he have any weapons that you know?
Stormy:    He doesn't have anything.       I know the only person that

           had weapons was Guy Dull Knife and when he got sick,
           he left and it was. just the handgun and, um, he left

           and he took everything with him and it's been, he

           hasn't been back here.       His wife, we're trying to get

           the house ready, cause the, they are going to come

           back.   The whole plan was, um, he "was supposed to be

           back in .the spring, but he passed away, so.

Puckett:   You said that was a handgun or a pistol or?

Stormy:    Yeah,, it was a pistol.      It was the only gun. that I

           know of.    And that gun was taken to, um, to Rapid

           City.   Anything that was his, that he, had taken, and

           the truck only came- back, um, because that was when

           they brought him home.

Puckett:   What truck?

Stormy:    This red, his, ah, the Dodge truck that's out here,

           that they already know about.

Puckett:   What color is that? -

Stormy:    It's a grey "truck.

Puckett:   Grey truck?
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Stormy:    (affirmative) The only running vehicles is my white
           dually, this black,_ this black Duramax, and.then the
           Dodge.

Puckett:   So, where is the Dodge'at now?

Stormy:    The Dodge is in the back.      Cause we were up in, ah, we
           were up, people can come in here stealing from here,
           so.



Puckett:   So, it is in, back there?

Stormy:    Yeah, it's in the back, so.

Puckett:   Is there anything special about that Dodge truck?
           Like no light bar on it or?

Stormy:    There's a, there's nothing special.        His dad just took
           real good care of his truck.       That's probably it.      It
           was a nice

Puckett:   What kind of license plates does it have?

Stormy:    South Dakota.

Puckett:   South Dakota?

Stormy:    (affirmative)

Puckett:   Like, like regular South Dakota or is there, like,
           veteran's plates on it, or?

Stormy:    He's veteran.    He's got

Puckett:   Their veteran?

Stormy:    Yeah, he's

Puckett:   Veteran's plates?
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Stormy:     Yeah, he's straight up combat'veteran.         So, all of his
            stuff is, I mean they all have to know, I mean it has
            to be listed, -as far as I know.       Like when they run
            his plates and stuff, they gotta be know what they are
            dealing with.

Puckett:    Yeah.

Stormy:     So, I figure that would, it was under his'name. , He

            had insurance, so.     Yeah.    It says combat veteran on

            the back I think.

Puckett:    On the plate?

Stormy:     On the back of

Puckett:.   Oh, on the back window?

Stormy:     I am pretty sure it does say veteran on his plates,

            but, I didn't look that closely.

Puckett:    Does that, does- that truck have a lightbar on it?

            Like up on top?     You know how they make those big old
            bright lightbars?

Stormy:     (negative).    No lightbar on the top.

Puckett:    Alrighty, so

Stormy:     That truck is actually, and I will be real honest with

            you, •! took the' keys and -I^ I hid the keys.       Because
            George

Puckett:    Where's it at?

Stormy:     The keys?   The keys                   >


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Puckett;   No, the truck.

Stormy:    The truck is in the back.       But he, nobody knows about,
            where the keys are at because it belongs to his little
           brother and nobody is supposed to be driving it, so".
           ■ That's between us.    I haven'^t told nobody that.      So I

            know for a fact that George and nobody has been

            driving that truck.     Cause it don't even have lights
            on the front.     He hit a deer and the lights got broke,

            so.    The truck has just been parked.      And that was, I
            don't even know how that, what happened with that

            either, I just, we're out here and I don't have a

            phone half the time or anything and I don't know what
            goes on out there.     I don't even know much about the
            Corono Virus.     I just know that we stay here and

            that's it.    V

Puckett:    Alrighty, so.

Stormy:     We had to go to Rapid City recently because our baby
            had something going on and so we went to the doctors
            outside of IHS.     We just came back the other day and

            then, I don't know, George just, he just hasn't been

            here.    They know that too.    The police know that

            because they pulled him over and they know he is out

            there in Rap, or up there in Wamblee because they,

            Officer, ah, what's his name, Kevin ah, Kevin

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            something.     There is two cop, there unmarked cars.
            They really apprehended him pretty hard the other day.
            I don't know what that's about, so.            The people, it ■
            had to have been with the people that they were.with.
            So.     Other than that, that car was black and that was

            just a car, so.

Puckett:    Alright, so

Stormy:     So, that is the only thing I know about George right
            now.    ,


Puckett:    So, does George have any issues with KT?

Stormy:     They don't, they say that they don't know each,other.

            KT has been ,out of line with me before and I don't

            trust KT as far as to be around me when it comes to my

            daughter cause, um, and so, I don't know.            Other than

            that they don't have any, like, disputes.            They've

            never had any run-ins.            I don't, not that I know of.

            Then again, they are both from these areas and they
            know each other.     They know each other and they

            haven't said anything to us.           But other than that, um,

           they haven't, there should be no reason.             The only

           problem I have is just my daughter.            I don't want my

           daughter to go                 ,         .

Puckett:    Yeah.




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Stormy:    with him.     He don't even got a home for them to go to.

           You know, he is, they gotta think about things and

           that is my only issue.            And she is not even thinking

           right, so, I just want my grandson to stay here. 'So

           that was the only thing that happened tonight and he

           pulled out and backed and ran over something.            Messed

           his mom's car up and he start, he called me names and

           that's the only thing, that's as far as it went out

           here.    And there is no guys here.          There is nobody

           else here except me and my daughters, so.            There would

           be no, no, anybody couldn't have said anything to him.

           I am not.     Because I just don't, I just don't trust

           KT, so, just stay away from him.

Puckett:   Alrighty, so, everything up to this point has been

           completely, completely honest, right?

Stormy:    Yes, to the best of my knowledge that I know of.            I

           have given you everything.            I don't what's going on.

           I don't know what's happening but I don't really want
                                    I



           to know.

Puckett:   Alright, well you are going to need,to know cause

           this, this, this is a serious case.           That's why we're

           called out.     Alright, so.

Stormy:    Well, what happened?




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Puckett:      So, let, let, let's go back to this, this Dodge
              vehicle.

Stormy:       Ok.

Puckett:      Ok.    It's back there, right?

Stormy:       Yep.

Puckett:      There is no lightbar on it?

Stormy:       There's no lightbar on it.

Puckett:     Ok, let's go back to when he was stopped the other

            ' day. You are saying it's a black car?
Stormy:      Yeah.     A black car.

Puckett:     I just talked to the officer that stopped him and it

             was a grey Dodge truck with a lightbar on it.

Stormy:      No it wasn't.     That truck wasn't, that's not even

             true.


Puckett:     The one, the one they stopped in, the one that got

             stopped in Wamblee at the checkpoint?

Stormy:      Nope.     No, at the checkpoint, he worked at the

             checkpoint.

Puckett:     Oh, he worked at the checkpoint.

Stormy:      He drove that to the, to the checkpoint.         The other

             day, Kevin, Kevin, you know who I am talking about?

Puckett:     Yeah.

Stormy:      The two officers

■puckett:    Yeah.


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Stormy:     they're, they're the ones that,don't fuck around.

Puckett: -So, George works at, does he still work at the

            checkpoint?

Stormy:     No, he hasn't.     He's, he doesn't, he doesn't work

            there no more. .Urn, that Dodge truck hasn't moved for

            like a month.    A month and a half.

Puckett:    Alright, so, there was a shooting.

Stormy:     There was a shooting, that's what they are telling me

Puckett:    Somebody got shot.

Stormy:     And. it wasn't here that anybody got shot.

Puckett:    It was on your road.

Stormy:     I didn't hear anything.       So, I don't know.     I don't

            think that is true.     There was no

Puckett:    I, I have a victim get life-flighted to Rapid.City

            right now. . That was in the vehicle that left this

            house.    And the shooting happened right on this road.

Stormy:     I don't know how that could have happened because

           there was no, they left here, but there was nobody

            else here.

Puckett:    So, so, we need, we heed to be honest, alright?

Stormy:     Yes, I am being honest with you.        Nobody got shot

            here.    I don't know

Puckett:   Not, not right here, but on your highway. • On your

            road.


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Stormy:     I don't, I have no idea what you are talking about.
            Nobody got shot.     As far as I know, I didn't hear any
            gunshots.    You would have heard a gunshot.        I'm
           telling you the honest truth.        Nobody got shot.       Not
            here.

Puckett:    Somebody got shot.

Stormy:     Well, I don't

Puckett:    And it was one of the two people that you named up

            here.


Stormy:    They left here.      I know--he was cussing at me and he

           left.    And that's that last I seen of him.

Puckett:   So

Stormy:    There was nobody else here but me and my kids.             My

            kids were in the house when they came up.          It was, I

           told him he needed to leave, but he, he immediately

           left.

Puckett:   So, if there is, eventually the whole story is going

           to come out.     If you are not being honest and, .and all.

           this stuff is not checking out with the person that's,

           that's going to be arrested for this.

Stormy:    What's there not to be checked out?

Puckett:   You could get charged federally for lying to a federal

           officer.

Stormy:    I am not lying to you.


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Puckett:   I'm, I'm not saying you are, but

Stormy:    I understand what my rights are.         I understand what is
           going on.    And you, I know what you're telling me, but

           I don't know anything. ' So, there's nothing that I'm

           lying to you about that you've asked me here.           So you

           don't need to threaten me with anything.

Puckett:   I am not threatening you, I am just telling you

           because somebody got shot.

Stormy:    I just think this is...well I know and you know

Puckett:   And it wasn't KT.

Stormy:    Is she ok?

Puckett:   I don't, she is getting life-flighted.          I didn't get

           to talk to her.      They took her straight to Bennett

           County before I got here.

Stormy:    I don't know who could have shot her.          They left here

           and that was it.      There was nobody here.      There was me

           and my kids that were here.and that was it.           I told'

           him not to come here.       I went back in the house and I

           didn't hear anything.       She said they're supposed to

           come back here in an hour and pick her up and that is-

           the only thing that was upsetting me and my family is

           because we don't want to be parted.         Because he won't •

           leave her alone.      He wasn't invited to come here.

           He's hurt me before and he went to prison for a year.

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Puckett     For what?


Stormy;     If that's a good question.       He was not supposed to,

            something that happened with a minor or something.
            And so, my, he was supposed to be friends with my
            daughter but that whole time he was trying to be with

            her.    And so he go in trouble for some pretty serious

            stuff.    And .1 just stepped away but I didn't want my

            daughter going with him and he choked me.          Almost

            killed me and I had to go to the doctor.         I went to

            the hospital and so I don't trust KT.         So he came

            here, showed up, and he was getting all irate and- I, I

            don't know who's around here in Red Water.          There are

            a lot of people around here.       I don't know about Guys-

            history and anybody else's history.         I know that

           there's Boss that is out here.         You know, there is...so

            I don't know.     I couldn't tell you anything.       There

            has' been people coming out here stealing and
            pillaging.     I don't know anything.     All I know is that

            we were sitting out here

Puckett     Are there any other side roads off'this main road,

           like to go down into any of the ravines or?

Stormy:     There's none that I know of.       I know that there is the

            one that, there's the one that, um, you go up, up

            here.    So there is one that goes off the road and it

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           goes up here to Dad's grave.        It's up here on the
            hill.     And then there's one that goes down, down the■

            creek and then it goes up over the field and it goes

            to May's, May's house or whatever.        But that's like,
            you go outside of the, you go outside of the gate and
           it's, like through the gates down at the other end.

            And they're, they've been having that open because

            they've been harvesting their field.         But, other than

            that, they're pretty on spot on things, so.          They

            would have noticed something.       But other than-that, I

            don't know of any other roads that are around here.

            And they said that there was a black vehicle and

            there's no black vehicle here.        This truck right here

            is the only truck that's

Puckett    It's, it's dark, you know, it .could be a, a grey

            vehicle but because it is dark, it looks black, you

            know, so.     At this point, we know it's a darker

            vehicle, possibly a dark grey, almost a bluish, you

            know.


Stormy:     The only person I know that was driving a dark car, a

            SUV,    was Boss.

Puckett    It was a, it was a truck.

Stormy:     Cause there was no black truck, there'hasn't been

            anybody here.       I've been out here by myself with just

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            me and my kids.     George has been doing his thing over
           there in Wamblee.

Puckett:   So there's, there's a shooter still out here

           somewhere.


Stormy:    Yeah, that's why you guys are here.            That' why I asked
           them, should we leave.         I don't know who it could be,

           to be honest because the only people that"where here

           were just us.     And then they left and I don't know

           what happened from here. - There's a lot of things, that

           are creepy that are going on around here.           And I am

           about, well aware of it.        So, I mean, I don't know if

           they are trying to target this house and say that it

           was somebody out here.         I don't know.    I don't really,

           I mean, you guy's dispatched, I mean everything sounds

           all confusing.

Puckett:   Like what?

Stormy:    Just everything.      And I was listening

Puckett:   I don't want you to be confused so if you have a .

           question let me know and I'll answer it the best

Stormy:    Well he didn't sound like, they didn't even know if it

           was even here that they were, like, it didn't even

           sound like it came from here,        I didn't hear no

           gunshots.    That's the thing is, that's what I'm, I'm

           trying, to understand where


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Puckett:    How far off the road is your.trailer from the main

            road?

Stormy:     It's about a, I don't know, maybe like a, it's not a

            quarter of a mile, it's maybe a fourth of a mile.           You

            can here a car come, over the hill.       1 can hear

            somebody come up the driveway from here.         I was

           'sitting outside cause 1 didn't want my daughter to

           leave with them.      And that's what they were trying to

            do.    They were trying to take her.      He was just like,

           come on, come home.      And he just got pissed off at me

            and called me a bitch and there's just no re.ason for

           that.    1 just don't think that's right.        1 mean, if a

           guy can do that to me, you know, he feels like he's

           going to lose her, 1 mean this is in my mind, that is

           why 1 don't want her to go.        So that was the only

           dispute and when he left, I seen them drive down the

           way like that.     I didn't hear no gunshots.

Puckett:   You didn't see no other vehicles pull in behind them?

Stormy:.   No, there was nobody else here.        This" is the only cars

           that are here, is right here and-1 have a trailer

           hooked to this and I have my truck, this black truck

           and you can't drive that.       You can look at it, the

           wheels are about to fall off.        You can't even start it

           right now.

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Puckett:    Well, I am going to give you a card if, if, if you
            think of anything else or hear of anything, cause, I
            mean, if they were targeting KT, they shot the wrong
            person.

Stormy:     I don't know why they would be targeting him.           Who

            would be targeting him?        He' he's

Puckett:    I have no idea.

Stormy:     And he is from this, he comes up here and he parties
            around here.    He knows other people.       So I don't know

            and I don't, and I, but there's

•Puckett:   That's what we are trying to figure out.          None of us

            know, you know.     We're trying to talk to everybody

            that we possibly can.

Stormy:     And to be honest, like, I don't, I didn't "really know

            the history of this, or anything about this family, I

            just know that, I know, I knew Guy and I came out here

            to help because he was sick and'I do that, I help out

            with elders.    And then me and George ended up getting

            together.    But, I had a, the cops come out here

            before, where's George at?       Where's the .guns at?     I

            mean, it's always this and I don't have any frickin

            clue what's, what they are talking about half the

            time.   I think it is really unfair cause I don't, I

            really don't know what'.s going on half the time.          I

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            don't know the history and, of what -is going on here,

            so.   All I know is that I have my kids and we are all,

            everything, like, every so often there is cops

            barreling in here.     Every other month it seems like.

            I don't know what is going on.        I know we are all

            safe.    Nobody has hurt us.     He came in, I let him come

            in, he seen all of us-.       There was no corruption,

            nothing, you know.     Like nobody.was upset or anything,

            it just, I just asked KT to leave.        I said just, I

            don't want to concern my kids and then my little

            grandson knew something was going on with him, so, he

            just doesn't, he was really clingy to me.          He doesn't

            want to go nowhere.      I told my daughter, he needs to

            just stay.    You guys just need to stay.       Not that he

            is doing anything wrong, she hasn't even been around

            him for two weeks.     My sister came from Oregon and

            they just got back from the Sundance, they went to one

            Sundance that was phony and we told them not to go

            there because that, um, guy is a, Guy, he pointed out

            a lot of, they call that a lot of fake medicine men

            around here and he was one of them.        So she got told-

            and she still went, but she learned herself.          And so

            anyways, they ended up going to Leonard Crow Dog's

            Sundance.    That ended two days ago and they just got
                                      I



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           _back yesterday.     And then my sister left.       And they
            were the only other vehicle and she has a green truck
            and that, but they left yesterday.        But there's never

            a red truck that comes out here.        Nobody's been coming
            here at all.    Every once in a while, though. Boss will

            come out here.     That's the only person, he's always
            got a black type of car.       Black, grey.    The other

            night, there was a Darwin that came out with a black,

            car and the lady looked like she was on drugs.

Puckett:    Who is Boss?

Stormy:     Boss is the first born son here.

Puckett:    What's his name?

Stormy:     His name is Boss Dull Knife, I guess, I don't know.

Puckett:    And you said he drives- a?

Stormy:     He usually drives like a black car or he drives a

            black SUV.    That's the only other person, that I know,

            I haven't seen him drove the SUV since he, cause he

            got arrested from here, a while back.

Puckett:    And then you said Darwin, who's Darwin?

Stormy:    I don't know, I just got introduced to him the other

            night.   We were probably, not the other night, but, it

            was about a week ago.

Puckett:    What kind of car does he drive?




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Stormy:     He drove, drives like, it was like, I don't know, they
            were not black.      FT Cruiser or whatever.     Something

            like that.    And there was a girl that was ?, I don't

            know man, he was, it looked like they were up to no .

            good.    I really wasn't happy with them.       I don't, I

            don't like that.     I don't like drugs and alcohol.        I

            don't want to associate with it.        So, all I know is,

            um, we're supposed to be here caretaking this place

            and I got my kids here and I just don't want no

            problems.    And so, everything' that I told you. Carmen

            and KT did come here, but they left and there was

            nobody here when they were here and that is the honest

            truth.   They left

Puckett:    Is that the highway right there?

Stormy:     Yep, you can see.the highway from here.

Puckett:    Alright.    Well, there is my card.      Thanks for your

           information.

Stormy:     She's, she's ok isn't she though?

Puckett:    Like I said, I don't know.       She's, they took her, I

            got called and I came straight to their car over there

           by Wamblee.     And there, she was already on the way to

           the hospital.     Is your daughter up?




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Stormy:     They are all sleeping right now.        I was the only one
            waiting up cause they said you guys wanted to talk to

            me, so.


Puckett: - Well, I need to talk'to her.        Want to, probably not

            tonight if she is asleep, but tomorrow for sure.

Stormy:     Ok.     Yeah, I got a little infant and her baby's in

            there too, so.     We've, or I've got puppies that are

            dying so it's kinda, like, all crazy right now.           And

            then this is going on'and my little girl is attached

            to Wasko and she is all upset because she don't want

            Wasko to go.

Puckett:    How do you say her name? Wa

Stormy:     Waskoness.

Puckett:    Waskoness.

Stormy:     Yeah.    -And so, she is going to be really sad when,

            when she hears about Carmen.       I get along with Carmen.

            I just know, I mean we do now because we have a

            grandson, but I just know that they are the ones that

            are always been hostile towards me and, towards me and

            my, well towards me because I have always been against

            him being with my daughter.       She's like,.he's like, I

            don't know, now I know he is six years older, but we

            went up to that Dapple thing, or whatever, and that's

            how we found, and then he found us out in Oregon and,


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            it's just like, he's always coming around and 1 don't

            trust him.    1 don't trust the way that he acts.         He

            really acts weird about things and he gets, like, 1

            don't know how to explain it, but, it's just like, he

            just panics and, like, do anything to keep her,

            possessive to me.     It's not healthy.      1 don't want my

            daughter around him with my grandson.         1 did the right

            thing.   1 didn't let them go.      And that's all 1 know.

            We went back inside and I, she wasn't, she was out

            here me for a minute, but she went inside.          Because

            she knows how they get, but other than that, he was

           the only

Puckett     And, and she told him to come back in an hour?

Stormy:     She told him, they were supposed, they said, he said

            he was going to come back in an hour.         She said, I

           don't have my things ready or anything.          And so, 1

           don't know if she is lying to me or not either, but

           none of us have a phone or internet.          So 1 don't know

           how he'knew to> he just, came here.        And, urn, I don't

            know, he's not on

Puckett    Maybe she contacted himwith your sister's phone?

Stormy:    She's been here, she hasn't been using it.

Puckett    Like, after they got out



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Stormy:     Yeah, yesterday, yesterday maybe they did, but I, and

            I talked to. him on the phone and I told him, I said,

            don't come here.     I just told him, don't come here

            because he just, I don't like the way that he acts.
            He choked me to the point to where I seen light and so

            I just don't ever trust him.       That was a long time

            ago.    That is just how he gets, possessive over her

            and that, to me, that is a red flag.         And if he could

            do that to me and he feels like he is going to lose

            her, that is my only problem, you know?-        And so, urn,

            it is never good when he freaks' out like this and that

            is what he was doing, was freaking out.         Calling me

            names and screaming and everything else like that.

Puckett:    Alrigtity, well we are going to be here for quite some

            time,,so if you look out and you see us here, then,

            alrighty.

Stormy:     Well what do you mean, quite some time?

Puckett:    Well, we gotta, I'll explain it to you later.           After I

            get, get all my paperwork done.

Stormy:     Ok, well, I just want to know everything right now.            I

            don't want to know later because I am just, just want

            to know what is going to happen.        I've already, I've

            already been through enough.       We've got puppies.dying,

            my kids are attached to them, my daughter is try, just

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               came back and we've always been together and I wish KT

               would just leave us alone.      I don't understand what's

               going on.    I don't understand what happened.     And I'

               don't want to know.    I just want us to be left alone.

               I don't know what happened and I, I'm telling you

               everything right now and I just think it's so unfair

               that we have to keep going through this.      Because they

               think something.    And nine out of ten times it's not,

               like they come here looking for George and, last time,

               George wasn't even here, he was at sweat and things

           •   were actually good.    You know.    Another time we were

               walking to the store and a drunk got, attacked him.

               He went to jail.    And he was sober, but he went to

               jail and the drunk guy'got, I mean, it's just things

               like that, that just, I mean I have worked with, you

               know, like domestic violence things or different

               situations with the police, and it's just that, you

               know,, gone down differently.    And, so, 1 just know

               that there a lot of times is false accusations and

               people

Puckett:       Well this ain't false, I mean, somebody got shot, here.

               Alright.    That's, that's facts.

Stormy:        They didn't get shot here.

Puckett:       On this property.

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7j          Not right here.

Puckett     Well, on the road.

Stormy:     I don't know if, about that.        -I don't, I can't really

            tell you that that really happened.

Puckett     I, I know what I know is that somebody got shot.

Stormy:     I am telling you that nobody got shot on this

            property.    They left

Puckett     How far does this property go?

Stormy:     This property goes, you come down the road, that's it.

Puckett     Yeah.   All the way to the highway?

Stormy:     That's it, yeah.     It goes all the way to the highway.

Puckett     And then how far this way?

Stormy:     That way?    It's, then it's the Mays, um, it goes to

            the Mays.    There's like a fence line and

Puckett     How far over that way?         Not too far?

Stormy:     About the same length to this.

Puckett     Oh.                        "    -

Stormy:     And right now they've got it all shut off because

            they've .got, they've been harvesting, so all of our

            horses are in their pasture and it's just kinda like

            their thing right now so we, they have a lease between

            his dad and them, so, there's, we can't really go

            other places on here because they are doing things.

            Like growing stuff.      Like growing wheat and sugar and

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            then they've got their cows that they had here for a

            while.    So really all we got is just this area right

            here because everything else is leased out.          And, so

            other than that, there is no other roads except for

            this road right here that we come in on.         And- there

            was no shooting here.      So I don't know when that could

            have happened.     If it even happened here.       There's

            been a lot of weird things going on out here.          Not

            just here, but, I'm just saying- when I say out here,

            but out here on the rez.      I am well aware of

            everything.

Puckett:    Alr.ighty, well, I am getting a search warrant for the

            property.

Stormy:     Ok.

Puckett:    Um, and then I just gotta wait for that to get signed."

            Um, that's going to a federal judge up in Rapid, so

            that's, I am waiting for that to get all, figured out.

            And then we- will be, we will be out here for quite

            some time so we could be here till 4:00, we could be

           . here till 10:00 tomorrow, so.      Alrighty?

Stormy:     So, do I have to sit here the whole time?

Puckett:    No, no.   We're done here.     Um, like I said, you've got

            my phone number if you hear anything about it, give me

            a call.


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Stormy:     Alright then.     Well you have a good night.

Puckett:    Yep, you too.     Sorry to bother you all night.

Stormy:     That's all right.     Do you guys need to talk to me

           "anymore?




End of recording.




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